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C-6.2 Final Disposition Felony Sentence With Probation

IN THE SUPERIOR COURT OF DEKALB COUNTY, STATE OF GEORGIA

STATE OF GEORGIA versus

FRANK ERIC BROWN
CRIMINAL ACTION #:

17CR1161 -2

Clerk to complete if incomplete:

OTN(s):, 88401102436

DOB: M1979
July Term of 2018 Ga. ID#: Final Disposition:
, FELONY with PROBATION
First Offender/Conditional Discharge PLEA: VERDICT:
entered under: 2
[] OCGA. § 42-860 [ ] OCGA § 16-13-2 [ } Negotiated [ ] Non-Negotiated [ X] Jury[ ] Non-jury
[_|Repeat Offender as imposed below
L_] Repeat Offender waived The Court enters the following judgment:
Disposition
Charge (Guilty, Not Guilly, Sentence Fine Concurrent/
Count (as indicted or accused) Guilty-Alford, Guilty- Consecutive,
Lesser Incl, Nolo, Nol Merged, Suspended

Pros, Dead Docket)

2 |PANDERING PERSON UNDER 18 jNOT GUILTY

OA - FELONY

3 STATUTORY RAPE GUILTY 15 YEARS TO SERVE
10 YEARS IN
CUSTODY

The Defendant is adjudged guilty or sentenced under First Offender/Conditional Discharge for the
above-stated offense(s); the Court sentences the Defendant to confinement in such institution as the
Commissioner of the State Department of Corrections may direct, with the period of confinement to
be computed as provided by law.

Sentence Summary: The Defendant is sentenced for a total of 15 YEARS
[X] with the first _10 YEARS To be served on confinement and the remainder to be served on
probation; or [_] to be served on probation.

The Defendant is to receive credit for time served in custady: from 09/11/15 — 09/14/15
AND 08/07/18 - PRESENT
or __] as determined by the custodian.

[]1. The above sentence may be served on probation provided the Defendant shall comply with
the Conditions of Probation imposed by the Court as part of this sentence.

[x] 2. Upon service of 10 YEARS , the remainder of the sentence may be served on
probation; PROVIDED, that the Defendant shall comply with the Conditions of Probation imposed by
the Court as part of this sentence.

[_] 3. The Court sentences the Defendant as a recidivist under O.C.G.A.:
(1g 17-10-7(a); (J§ 17-10-7(c); (18 16-7-1(b); [1] § 16-8-14(b); or D8
SCANNED

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Plaintiff D.H. 00591
